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                       UNITED STATES DISTRICT COURT

                      CENTRAL DISTRICT OF CALIFORNIA

   VIVA NATURALS, INC.,             )        Case No. 2:20-CV-03107-RGK-AFM
                                    )
                  Plaintiff         )        [PROPOSED] ORDER ENTERING
                                    )        JUDGMENT IN FAVOR OF
        vs.                         )        PLAINTIFF
                                    )
   LIEF ORGANICS, LLC,              )        Hearing Date: July 12, 2021
                                    )        Hearing Time: 9:00 a.m.
                  Defendant         )
                                    )        Final Pretrial Conf.: August 9, 2021
                                    )        Trial Date: August 24, 2021
                                    )
                                    )        [Concurrently filed with:
                                    )        (1) Notice of Motion (2) Memorandum
                                    )        of Points and Authorities; (3) Separate
                                    )        Statement of Uncontroverted Facts and
                                    )        Conclusions of Law; and (4)
                                    )        Declaration of James Schultz
   ________________________________ )
        1.    For the reasons set forth in the Court’s Order regarding the Motion
   for Summary Judgment of the Plaintiff, Viva Naturals, Inc., judgment in favor of
   the Plaintiff and against the Defendant is entered in the amount of $309,384, plus
   pre and post judgment interest at the maximum allowable rate.
        2.    The Defendant’s Counterclaim is hereby dismissed with prejudice.
     IT IS SO ORDERED.

     Dated: ____________, 2021
                                                     _________________________
                                                     Hon. R. Gary Klausner
                                                     U.S. District Court Judge
